
Hare, having obtained a judgment in the general court, against Gay and others, upon a replevy bond, sued out a writ of fieri facias upon the said judgment prior to the 4th of January, 1788; and the sheriff having, by virtue of the said writ, levied only a part of the debt, the plaintiff, after *the said 4th of January, 1788, sued another writ of fieri facias for the balance of the judgment, and required the clerk to endorse upon the same, “That no security’ should be taken,” agreeable to the act of assembly of 1748, declaring the law concerning executions; which the clerk refused, doubting whether he was authorized to do so since the passing of the act of the 4th January, 1788, concerning executions. Whereupon Hare moved the general court, on the 28th of April, 1788, to direct the clerk to make the endorsement; but the court doubting about it also, adjourned the case for novelty and difficulty to the court of appeals.
*684The certificate to the general court was, ‘ ‘That no such endorsement, as required by the said Robert Hare, ought to be made.”
